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                                   UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF CALIFORNIA

                                                   Minute Order
Hearing Information:
              ADV: 19-90065                                                                                      0.00
              KRYSTAL ANNE MEDINA VS NATIONAL COLLEGIATE STUDENT LOAN TRUST 2
                     Debtor:   CESAR & KRYSTAL ANNE MEDINA
               Case Number:    17-05276-LT7           Chapter: 7
      Date / Time / Room:      WEDNESDAY, AUGUST 05, 2020 10:00 AM DEPARTMENT 3
         Bankruptcy Judge:     LAURA S. TAYLOR
         Courtroom Clerk:      RUSSELL PALUSO
           Reporter / ECR:     AMANDA LEGORE

Matters:
    1)        PRE-TRIAL STATUS CONFERENCE (fr 6/3/20)


    2)        MOTION FOR SUMMARY JUDGMENT FILED ON BEHALF OF NATIONAL COLLEGIATE STUDENT
              LOAN TRUST 2006-3


    3)        PLAINTIFF'S EVIDENTIARY OBJECTIONS WITH RESPECT TO MOTION FOR SUMMARY
              JUDGMENT FILED ON BEHALF OF NATIONAL COLLEGIATE STUDENT LOAN TRUST 2006-3


    4)        DEFENDANT'S EVIDENTIARY OBJECTIONS WITH RESPECT TO MOTION FOR SUMMARY
              JUDGMENT FILED ON BEHALF OF NATIONAL COLLEGIATE STUDENT LOAN TRUST 2006-3



Appearances:

         CHRISTOPHER R. BUSH, ATTORNEY FOR KRYSTAL ANNE MEDINA (video)
         AUSTIN SMITH, CO-COUNSEL FOR KRYSTAL ANNE MEDINA (video)
         HOLLY NOLAN, ATTORNEY FOR NATIONAL COLLEGIATE STUDENT LOAN TRUST 2006-3
         (video)


Disposition:                                                                                       1.00

         1) Off calendar as resolved by summary judgment as set forth on the record .

         2) Granted pursuant to the Court's Tentative Ruling and as set forth on the record. Order with
         appropriate findings of facts and conclusion of law to be submitted by Ms. Nolan as directed by
         the Court.

         3) Off calendar as resolved by summary judgment as set forth on the record .

         4) Off calendar as resolved by summary judgment as set forth on the record .




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